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       1040 U.S. Individual Income Tax Return 2000
                       Department of the Treasury—Internal Revenue Service
Form
                                                                                                                 (99)      IRS Use Only—Do not write or staple in this space.
                       For the year Jan. 1–Dec. 31, 2000, or other tax year beginning                            , 2000, ending                      , 20     OMB No. 1545-0074
Label                      Your first name and initial                          Last name                                                          Your social security number
(See               L
                   A
instructions       B       If a joint return, spouse’s first name and initial   Last name                                                          Spouse’s social security number
on page 19.)       E
                   L
Use the IRS
label.             H
                           Home address (number and street). If you have a P.O. box, see page 19.                           Apt. no.
                                                                                                                                                   䊱 Important! 䊱
Otherwise,         E
please print       R                                                                                                                                        You must enter
                   E       City, town or post office, state, and ZIP code. If you have a foreign address, see page 19.
or type.                                                                                                                                                    your SSN(s) above.
Presidential
                       䊳
                                                                                                                                                        You                Spouse
Election Campaign              Note. Checking “Yes” will not change your tax or reduce your refund.
(See page 19.)                 Do you, or your spouse if filing a joint return, want $3 to go to this fund?                                 䊳           Yes        No          Yes    No
                        1                Single
Filing Status           2                Married filing joint return (even if only one had income)
                        3                Married filing separate return. Enter spouse’s social security no. above and full name here. 䊳
Check only              4                Head of household (with qualifying person). (See page 19.) If the qualifying person is a child but not your dependent,
one box.                                 enter this child’s name here. 䊳
                        5                Qualifying widow(er) with dependent child (year spouse died 䊳              ). (See page 19.)


                                                                                                                                                            其
                        6a           Yourself. If your parent (or someone else) can claim you as a dependent on his or her tax                                  No. of boxes
Exemptions                                     return, do not check box 6a                                                                                      checked on
                                                                                                                                                                6a and 6b
                            b    Spouse                                                                                                                         No. of your
                            c Dependents:                                                                         (3) Dependent’s     (4) if qualifying         children on 6c
                                                                                      (2) Dependent’s
                                                                                                                   relationship to    child for child tax       who:
                               (1) First name             Last name                social security number
                                                                                                                         you         credit (see page 20)
                                                                                                                                                                ● lived with you
                                                                                                                                                                ● did not live with
If more than six                                                                                                                                                you due to divorce
dependents,                                                                                                                                                     or separation
see page 20.                                                                                                                                                    (see page 20)
                                                                                                                                                                Dependents on 6c
                                                                                                                                                                not entered above
                                                                                                                                                                Add numbers
                                                                                                                                                                entered on
                            d Total number of exemptions claimed                                                                                                lines above 䊳

                        7      Wages, salaries, tips, etc. Attach Form(s) W-2                                                                          7
Income                  8a Taxable interest. Attach Schedule B if required                                                                            8a
Attach                      b Tax-exempt interest. Do not include on line 8a                                8b
Forms W-2 and           9      Ordinary dividends. Attach Schedule B if required                                                                       9
W-2G here.                                                                                                                                            10
                       10      Taxable refunds, credits, or offsets of state and local income taxes (see page 22)
Also attach
Form(s) 1099-R         11      Alimony received                                                                                                       11
if tax was             12      Business income or (loss). Attach Schedule C or C-EZ                                                                   12
withheld.
                       13      Capital gain or (loss). Attach Schedule D if required. If not required, check here 䊳                                   13
                       14      Other gains or (losses). Attach Form 4797                                                                              14
If you did not         15a     Total IRA distributions     15a                                       b Taxable amount (see page 23)                  15b
get a W-2,             16a     Total pensions and annuities      16a                                 b Taxable amount (see page 23)                  16b
see page 21.
                       17      Rental real estate, royalties, partnerships, S corporations, trusts, etc. Attach Schedule E                            17
Enclose, but do        18      Farm income or (loss). Attach Schedule F                                                                               18
not attach, any        19      Unemployment compensation                                                                                              19
payment. Also,                                          20a                                                                                          20b
please use             20a     Social security benefits                                              b Taxable amount (see page 25)
Form 1040-V.           21      Other income. List type and amount (see page 25)                                                                       21
                       22      Add the amounts in the far right column for lines 7 through 21. This is your total income 䊳                            22
                       23      IRA deduction (see page 27)                                                  23
Adjusted               24      Student loan interest deduction (see page 27)                                24
Gross                  25      Medical savings account deduction. Attach Form 8853                          25
Income                 26      Moving expenses. Attach Form 3903                                            26
                       27      One-half of self-employment tax. Attach Schedule SE                          27
                       28      Self-employed health insurance deduction (see page 29)                       28
                       29      Self-employed SEP, SIMPLE, and qualified plans                               29
                       30      Penalty on early withdrawal of savings                                       30
                       31a     Alimony paid b Recipient’s SSN 䊳                             31a
                       32      Add lines 23 through 31a                                                                                               32
                       33      Subtract line 32 from line 22. This is your adjusted gross income                                             䊳        33
For Disclosure, Privacy Act, and Paperwork Reduction Act Notice, see page 56.                                              Cat. No. 11320B                          Form 1040 (2000)
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                   34     Amount from line 33 (adjusted gross income)                                                                          34
Tax and
                   35a    Check if:  You were 65 or older,     Blind;   Spouse was 65 or older,                             Blind.
Credits                   Add the number of boxes checked above and enter the total here                                   䊳 35a

                      b If you are married filing separately and your spouse itemizes deductions, or
                        you were a dual-status alien, see page 31 and check here                      䊳 35b
Standard
Deduction          36   Enter your itemized deductions from Schedule A, line 28, or standard deduction shown
for Most                on the left. But see page 31 to find your standard deduction if you checked any box on
People                  line 35a or 35b or if someone can claim you as a dependent                                                             36
Single:            37     Subtract line 36 from line 34                                                                                        37
$4,400
                   38     If line 34 is $96,700 or less, multiply $2,800 by the total number of exemptions claimed on
Head of                                                                                                                                        38
household:                line 6d. If line 34 is over $96,700, see the worksheet on page 32 for the amount to enter
$6,450             39     Taxable income. Subtract line 38 from line 37. If line 38 is more than line 37, enter -0-                            39
Married filing     40     Tax (see page 32). Check if any tax is from a           Form(s) 8814        b         Form 4972                      40
jointly or
Qualifying         41     Alternative minimum tax. Attach Form 6251                                                                            41
widow(er):         42     Add lines 40 and 41                                                                                             䊳    42
$7,350
                   43     Foreign tax credit. Attach Form 1116 if required                                43
Married
filing             44     Credit for child and dependent care expenses. Attach Form 2441                  44
separately:                                                                                               45
$3,675
                   45     Credit for the elderly or the disabled. Attach Schedule R
                   46     Education credits. Attach Form 8863                                             46
                   47     Child tax credit (see page 36)                                                  47
                   48     Adoption credit. Attach Form 8839                                               48
                   49     Other. Check if from a          Form 3800           b      Form 8396
                          c    Form 8801       d      Form (specify)                           49
                   50     Add lines 43 through 49. These are your total credits                                                                50
                   51     Subtract line 50 from line 42. If line 50 is more than line 42, enter -0-                                       䊳    51
                   52     Self-employment tax. Attach Schedule SE                                                                              52
Other                                                                                                                                          53
                   53     Social security and Medicare tax on tip income not reported to employer. Attach Form 4137
Taxes                                                                                                                                          54
                   54     Tax on IRAs, other retirement plans, and MSAs. Attach Form 5329 if required
                   55     Advance earned income credit payments from Form(s) W-2                                                               55
                   56     Household employment taxes. Attach Schedule H                                                                        56
                   57     Add lines 51 through 56. This is your total tax                                                                 䊳    57
Payments           58     Federal income tax withheld from Forms W-2 and 1099                             58
                   59     2000 estimated tax payments and amount applied from 1999 return                 59
If you have a      60a    Earned income credit (EIC)                                                      60a
qualifying
child, attach        b    Nontaxable earned income: amount               䊳
Schedule EIC.             and type 䊳
                   61     Excess social security and RRTA tax withheld (see page 50)                      61
                   62     Additional child tax credit. Attach Form 8812                                   62
                   63    Amount paid with request for extension to file (see page 50)    63
                   64    Other payments. Check if from a   Form 2439 b      Form 4136    64
                   65    Add lines 58, 59, 60a, and 61 through 64. These are your total payments                                          䊳    65
                                                                                                                                               66
Refund             66     If line 65 is more than line 57, subtract line 57 from line 65. This is the amount you overpaid
                   67a    Amount of line 66 you want refunded to you                                                                      䊳   67a
Have it
directly
deposited!       䊳 b      Routing number                                                     䊳 c Type:          Checking         Savings
See page 50
and fill in 67b, 䊳 d      Account number
67c, and 67d. 68          Amount of line 66 you want applied to your 2001 estimated tax          䊳        68

Amount             69     If line 57 is more than line 65, subtract line 65 from line 57. This is the amount you owe.
                          For details on how to pay, see page 51                                                   䊳                           69
You Owe            70     Estimated tax penalty. Also include on line 69                       70
                   Under penalties of perjury, I declare that I have examined this return and accompanying schedules and statements, and to the best of my knowledge and
Sign               belief, they are true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
Here

                 䊳
                     Your signature                                               Date            Your occupation            Daytime phone number
Joint return?
See page 19.                                                                                                                 (        )
Keep a copy          Spouse’s signature. If a joint return, both must sign.       Date            Spouse’s occupation        May the IRS discuss this return with the preparer
for your
records.                                                                                                                     shown below (see page 52)?          Yes             No

Paid       Preparer’s
           signature          䊳                                                                Date
                                                                                                                      Check if
                                                                                                                      self-employed
                                                                                                                                               Preparer’s SSN or PTIN

Preparer’s Firm’s name (or
Use Only yours   if self-employed),
           address, and ZIP code
                                            䊳                                                                                EIN
                                                                                                                             Phone no.         (       )
                                                                                                                                                            Form 1040 (2000)
